10/21/21, 10:47Case:
               AM       4:21-cv-01270-AGF Doc. #: 1-1   Filed:
                                                   Case.net:     10/22/21
                                                             2122-CC09346      Page:
                                                                          - Docket Entries1 of 20 PageID #: 6




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                   2122-CC09346 - ANGELIA SCOTT V ST LOUIS UNIVERSITY HOSPITAL (E-
                                               CASE)

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  10/13/2021           Jury Trial Scheduled
                           Scheduled For: 03/21/2022; 9:00 AM ; MICHAEL FRANCIS STELZER; City of St. Louis

  09/23/2021           Summons Issued-Circuit
                       Document ID: 21-SMCC-13213, for ST LOUIS UNIVERSITY HOSPITAL.
                       Filing Info Sheet eFiling
                           Filed By: MARY MADELINE JOHNSON
                       Note to Clerk eFiling
                           Filed By: MARY MADELINE JOHNSON
                       Pet Filed in Circuit Ct
                       Petition for Damages; Exhibit A - Notice of Right to Sue.
                          Filed By: MARY MADELINE JOHNSON
                          On Behalf Of: ANGELIA SCOTT
                       Judge Assigned
 Case.net Version 5.14.24                                        Return to Top of Page                                    Released 09/07/2021




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  Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 2 of 20 PageID #: 7
                                                                                   2122-CC09346

               IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS, MISSOURI

ANGELIA SCOTT                                           )
                                                        )
                                Plaintiff,              )
                                                        )
vs.                                                     )       Case No.
                                                        )
                                                        )
ST. LOUIS UNIVERSITY HOSPITAL                           )       REQUEST FOR JURY TRIAL
                                                        )
        Serve at:                                       )
        1201 S. Grand Boulevard                         )
        St. Louis, MO 63104                             )
                            Defendant.                  )

                                  COMPLAINT FOR DAMAGES

        COMES NOW Plaintiff Angelia Scott (“Plaintiff”) and for her Complaint for Damages

against Defendant St. Louis University Hospital, (“Defendant”), and alleges and states as

follows:

                                       Parties and Jurisdiction

      1. Plaintiff is a citizen of the United States, residing in St. Louis, Missouri, and at all times

           pertinent to this Complaint for Damages was an “employee” within the meaning of Title

           VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e(f) et seq. (“Title VII”).

      2. Defendant is a research and academic medical center located in St. Louis, Missouri and

           is affiliated with the St. Louis University School of Medicine.

      3. Defendant receives federal funding through various academic and other programs, which

           make it subject to the prohibitions of Title VII and the Patient Protection and Affordable

           Care Act, 42 U.S.C. § 18001 et seq. (“ACA”).

      4. Defendant employs at least 15 employees within the State of Missouri and the United

           States.



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                                                                                                 Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 3 of 20 PageID #: 8




  5. Defendant continuously operates a hospital and medical clinics within the State of

     Missouri with its headquarters located at 1201 S. Grand Boulevard, St. Louis, Missouri.

  6. Defendant was at all times pertinent to this Complaint for Damages, an “employer”

     within the meanings of the Title VII.

  7. The claims within this Complaint are brought under Title VII, a federal statute, and the

     ACA, a federal statute.

  8. Some, if not all, of the alleged unlawful employment practices took place in the State of

     Missouri, within the City of St. Louis.

  9. Plaintiff and Defendant are both “residents” of St. Louis, Missouri within the meaning

     of RSMo. § 508.010.

  10. Jurisdiction and venue are proper in this Court pursuant to RSMo. § 508.010.

                       Administrative Procedure and Procedural Posture

  11. On or about July 28, 2020, Plaintiff timely filed a Charge of Discrimination dually with

     the Equal Employment Opportunity Commission (“EEOC”) and Missouri Commission

     on Human Rights (“MCHR”) alleging Defendant discriminated against her by

     association on the basis of her son’s sex by refusing to provide Plaintiff basic health

     insurance coverage benefits that would cover the treatment of her son’s medical

     condition of gender dysphoria.

  12. On or about June 30, 2021, the EEOC issued to Plaintiff a Notice of Right to Sue on

     Plaintiff’s Title VII claim. A copy of said Notice is attached hereto as Exhibit A and

     incorporated herein by reference.

  13. Plaintiff’s Complaint is filed within ninety (90) days of the issuance of the EEOC’s

     Notices of Right to Sue.



                                               2
                                                                                                       Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 4 of 20 PageID #: 9




  14. The aforesaid Charge of Discrimination provided the EEOC sufficient opportunity to

      investigate the full scope of the controversy between the parties and, accordingly, the

      sweep of this judicial complaint may be and is as broad as the scope of an EEOC

      investigation, which could reasonably be expected to have grown out of the Charge of

      Discrimination.

  15. Plaintiff has satisfied all private, administrative, and judicial prerequisites to the

      institution of this action.

                        General Allegations Common to All Counts

  16. Gender identity refers to an individual’s fundamental, internal sense of being a particular

      gender. It is an essential element of human identity that everyone possesses. Gender

      identity is innate, has biological underpinnings, and is fixed at an early age.

  17. An individual’s sex is generally assigned solely on the basis of the appearance of

      external genitalia at the time of birth. External genitalia are but one of several sex related

      characteristics and are not always indicative of a person’s sex. Other sex related

      characteristics, such as chromosomes, hormone levels, internal reproductive organs,

      secondary sex characteristics, and gender identity, are typically not assessed or

      considered during the assignment of sex at birth.

  18. Where an individual’s gender identity does not match that individual’s sex assigned at

      birth, gender identity is the critical determinant of sex. A scientific consensus recognizes

      that attempts to change an individual’s gender identity to bring it into alignment with the

      sex assigned at birth are ineffective and harmful.

  19. For transgender people, an incongruence between gender identity and the body’s other

      sex characteristics can result in gender dysphoria—i.e., a feeling of clinically significant



                                                3
                                                                                                   Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 5 of 20 PageID #: 10




     distress and discomfort born out of experiencing that something is fundamentally wrong.

     Gender dysphoria is a medical condition recognized in the American Psychiatric

     Association’s Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition; the

     World Health Organization’s International Classification of Diseases, which is the

     diagnostic and coding compendia for medical professionals; and by other leading

     medical and mental health professional groups, including the American Medical

     Association (“AMA”) and the American Psychological Association (“APA”).

  20. In addition to clinically significant distress, gender dysphoria can also result in severe

     anxiety, depression, and suicidal ideation or suicide if not adequately treated.

  21. Untreated gender dysphoria often intensifies with time. The longer an individual goes

     without adequate treatment, the greater the risk of severe harms to the individual’s

     health.

  22. Gender dysphoria can be treated in accordance with internationally recognized

     Standards of Care formulated by the World Professional Association for Transgender

     Health (“WPATH”). These Standards of Care are recognized as authoritative by national

     medical and behavioral health organizations such as the AMA and APA, which have

     called for an end to exclusions of gender confirming care from health insurance plans.

  23. The process by which transgender individuals come to live in a manner consistent with

     their gender identity, rather than the sex they were designated at birth, is known as

     gender transition. The ability to live in a manner consistent with one’s gender identity is

     critical to the health and well-being of transgender individuals and is a key aspect in the

     treatment of gender dysphoria.




                                               4
                                                                                                    Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 6 of 20 PageID #: 11




  24. The steps that transgender individuals take to transition are individualized, but typically

     include social, legal, and medical transition.

  25. Social transition entails a transgender individual living in accordance with their gender

     identity in all aspects of life. For example, for a man who is transgender (designated

     female at birth), social transition can include wearing typically male attire, using male

     pronouns, and otherwise living openly as a man in all aspects of everyday life.

  26. Legal transition involves steps to formally align a transgender individual’s legal identity

     with their gender identity, such as legally changing one’s name and updating the name

     and gender marker on their driver’s license, birth certificate, and other forms of

     identification.

  27. Medical transition, a critical part of transitioning for many transgender individuals,

     includes treatments that bring the sex-specific characteristics of a transgender

     individual’s body into alignment with their gender identity, such as counseling to obtain

     a diagnosis of gender dysphoria, hormone replacement therapy, or surgical care.

  28. Hormone replacement therapy involves taking hormones for the purpose of bringing

     one’s secondary sex characteristics into typical alignment with one’s gender identity.

     Secondary sex characteristics are bodily features not associated with external and

     internal reproductive genitalia (primary sex characteristics). Secondary sex

     characteristics include, for example, hair growth patterns, body fat distribution, and

     muscle mass development. Hormone replacement therapy can have significant

     masculinizing or feminizing effects and can assist in bringing a transgender individual’s

     secondary sex characteristics into alignment with their true sex, as determined by their




                                               5
                                                                                                  Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 7 of 20 PageID #: 12




     gender identity, and therefore is medically necessary care for transgender people who

     need it to treat their gender dysphoria.

  29. Gender confirming surgical care or treatment—also known as gender confirmation

     surgery or “sex reassignment” surgery—refers to any surgical procedure undertaken by a

     transgender individual to better align their primary or secondary sex characteristics with

     their gender identity. Such surgical care can include but is not limited to vaginoplasty,

     phalloplasty, hysterectomy, gonadectomy, mammoplasty, and mastectomy. These

     treatments deliberately change sex characteristics for the purpose of treating gender

     dysphoria.

  30. Surgical care is medically necessary for transgender people who need it to treat their

     gender dysphoria.

  31. An established body of medical research demonstrates the effectiveness and medical

     necessity of gender dysphoria treatment, including counseling, hormone therapy, and

     surgical treatment. Health care experts have recognized that such treatments are not

     “cosmetic,” “elective,” or “experimental.” Rather, such treatments are safe, effective,

     and medically necessary treatments for a serious health condition.

  32. For example, WPATH has explained that, like hormone therapy and other gender

     confirming treatments, “[t]he medical procedures attendant to gender

     affirming/confirming surgeries are not ‘cosmetic’ or ‘elective’ or ‘for the mere

     convenience of the patient.’ These reconstructive procedures are not optional in any

     meaningful sense but are understood to be medically necessary for the treatment of the

     diagnosed condition. In some cases, such surgery is the only effective treatment for the

     condition, and for some people genital surgery is essential and life-saving.”



                                                6
                                                                                                    Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 8 of 20 PageID #: 13




  33. Similarly, in 2014, the federal Department of Health and Human Services Departmental

     Appeals Board confirmed that surgical treatment is safe and effective treatment for

     gender dysphoria. After reviewing expert medical testimony and published studies, the

     Appeals Board concluded that the Medicare program’s then-existing exclusion of such

     treatment from coverage was “not reasonable.”

  34. These various components associated with transition—social, legal, and medical

     transition—do not change an individual’s gender, as that is already established by

     gender identity, but instead bring the individual’s appearance, legal identity, and sex

     related characteristics into greater typical alignment with the individual’s gender identity

     and lived experience.

  35. Plaintiff is the mother of a transgender son.

  36. Plaintiff is protected by association with her son, who is a member of the protected class

     of sex.

  37. Plaintiff’s son has a diagnosis of gender dysphoria, is currently, and was at all relevant

     times to the allegations in this Complaint, under the care of various health care providers

     for gender dysphoria and gender transition related treatment.

  38. Plaintiff is an employee of Defendant. As part of compensation for employment,

     Defendant provided its employees with health care coverage for such employees and

     their dependents through a privately funded plan administered by Cigna Healthcare NS-

     BUS. However, the aforementioned health care plan contains a categorical exclusion of

     all care related to gender dysphoria and gender reassignment. By categorically depriving

     transgender enrollees of coverage for the treatment of gender dysphoria—the clinically

     significant distress that can result from the dissonance between an individual’s gender



                                               7
                                                                                                  Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 9 of 20 PageID #: 14




     identity and sex assigned at birth—Defendant unlawfully discriminated against Plaintiff

     by association with her son because of her son’s membership in the protected class of

     sex.

  39. By categorically denying all coverage related to gender dysphoria and gender

     reassignment Defendant denied equal compensation for equal work to Plaintiff.

  40. The sweeping exclusion contained with Defendant’s health care package denies

     coverage for health care, including counseling, hormone therapy, surgical care, and any

     other health care provided in relation to a person’s transgender status and/or gender

     transition. This exclusion contravenes the well-established medical consensus that

     gender-confirming health care can be medically necessary and even lifesaving. Other

     plan enrollees who are not transgender or who are not associated with a transgender

     family member otherwise covered by the plan do not face a categorical exclusion barring

     coverage for health care that is medically necessary for them based on their sex and

     receive coverage for the same care that is denied to transgender enrollees.

  41. Covered services under Defendant’s health care plan include medically necessary

     pharmacy benefits, mental health benefits, and medical care such as surgical benefits at

     inpatient and outpatient facilities.

  42. At all relevant times, Defendant’s health care plan has contained a categorical exclusion

     of coverage for sex transition related health care.

  43. Because the only people who require treatments related to gender confirming health care

     are transgender people, denying coverage for such health care necessarily discriminates

     against transgender people and/or the transgender dependents of the primary policy

     holder.



                                              8
                                                                                                 Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 10 of 20 PageID #: 15




   44. By denying Plaintiff coverage of expenses for her son’s necessary medical treatment,

      Defendant is by definition discriminating against Plaintiff because of her association

      with her transgender son because of her son’s membership in the protected class of sex.

   45. As a result of the aforementioned exclusions in health care coverage, non-transgender

      enrollees receive coverage for medically necessary mental health, prescription drug, and

      surgical needs that, because of their sex, transgender employees or transgender

      dependents of employees of Defendant, such as Plaintiff, do not.

   46. The medical consensus recognizes that discriminatory exclusions of gender confirming

      health care in health insurance plans have no basis in medical science. Preeminent

      medical and behavioral health organizations, such as the AMA and the APA, have called

      for an end to these exceptions.

   47. In keeping with such medical consensus, Cigna, the third-party administrator of

      Defendant’s health care plan, maintains a Corporate Medical Policy on Treatment of

      Gender Dysphoria that acknowledges the general medical necessity of this care, and

      further offers such coverage to employers such as Defendant, who are the ultimate

      determiners of what coverages are included in the healthcare plans offered to their

      employees.

   48. Absent a categorical plan exclusion, claims for gender confirming care would be

      evaluated under the Cigna criteria for individual medical necessity and covered under

      the plan in the same manner as any other claims for medical, mental health, or pharmacy

      benefits.

   49. Absent the sweeping exclusion of transgender related treatment maintained by

      Defendant in its health care plan, Plaintiff’s medical needs for gender confirming care



                                              9
                                                                                                    Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 11 of 20 PageID #: 16




      while employed with Defendant would have been covered in the same manner as any

      other claim for medical, mental health, or pharmacy benefits as a non-transgender

      employee.

   50. As a result of the sweeping exclusion of medically necessary health care coverage,

      Defendant’s health care plan singles out employees, including Plaintiff, who are

      transgender, or who have transgender dependents, for unequal treatment by excluding

      medically necessary care for the treatment of gender dysphoria because of the enrolled

      member’s sex and because such persons seek necessary medical treatment to change

      their sex to the one that matches their gender identity, and which is inconsistent with

      their sex assigned at birth.

   51. Plaintiff has been denied coverage for her son’s medically necessary gender confirming

      health care because of her son’s sex and because of her familial association with her son,

      based on the categorical exclusion of gender confirming health care in Defendant’s

      health care plan.

   52. Plaintiff’s son has been forced to either forego or delay medically necessary gender

      confirming health care and Plaintiff has incurred financial hardship without the financial

      protection afforded by coverage through Defendant’s health care plan.

   53. Plaintiff has also suffered emotional distress, stigmatization, humiliation, and a loss of

      dignity because of Defendant’s targeted discrimination against transgender enrollees,

      which wrongly deems Plaintiff’s and other transgender persons’ health care needs as

      unworthy of equal coverage.

   54. The targeted discrimination against transgender persons by Defendant violates Title VII

      and section 1557 of the ACA.



                                               10
                                                                                                 Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 12 of 20 PageID #: 17




                                     CLAIMS FOR RELIEF

                                             COUNT I

                      Violation of Title VII of the Civil Rights Act of 1964

                                        42 U.S.C. § 2000e(f)

                                  Associational Discrimination

   55. Plaintiff hereby re-alleges and incorporates by reference the allegations contained in

      Paragraphs 1 through 54 above.


   56. Title VII provides that it is unlawful for an employer to discriminate against any

      individual with respect to their compensation, terms, conditions, or privileges of

      employment, because of such individual’s sex.


   57. Such prohibitions under Title VII also include discrimination against an individual

      because of their association with an individual who is a member a protected class;

      specific to Plaintiff’s case is her association with her transgender son.


   58. Under Title VII, discrimination on the basis of sex includes discrimination based on

      transgender status and/or gender identity.


   59. Defendant is an employer with the meaning of Title VII and therefore subject to Title

      VII.


   60. By offering a health plan to its employees with categorical exclusions for gender

      confirming care, Defendant has and continues to discriminate on the basis of sex against

      Plaintiff and other enrollees who require gender confirming care, or whose dependents

      require gender confirming care.



                                              11
                                                                                                 Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 13 of 20 PageID #: 18




   61. By knowingly and intentionally offering health insurance that denies coverage to

      Plaintiff on the basis of her association with her transgender son, Defendant harmed

      Plaintiff by: stigmatizing her; treating her as a secondary class compared to other non-

      transgender enrollees who have access to the same care for themselves or their non-

      transgender dependents; and causing Plaintiff and other transgender health plan

      participants mental and physical health complications due to their inability to access

      medically necessary health care.


   62. By knowingly and intentionally offering health insurance that denies coverage to

      Plaintiff on the basis of her association with her transgender son, Defendant further

      harmed Plaintiff by permitting Plaintiff to be paid less than non-transgender employees

      and employees who do not have transgender dependents as Plaintiff was paying for

      insurance coverage she was unable to use, and thus denied compensation equal to the

      compensation received by non-transgender employees and employees who do not have

      transgender dependents.


   63. By knowingly and intentionally offering a compensation package that denies fringe

      benefits to Plaintiff on the basis of Plaintiff’s sex and/or her association with her

      transgender son, Defendant has intentionally violated Title VII, for which Plaintiff is

      entitled to compensatory damages, including but not limited to out-of-pocket damages,

      consequential damages, and attorney fees.


                                          COUNT II

               Violation of the Patient Protection and Affordable Care Act

                                  42 U.S.C. § 18001 et seq.


                                               12
                                                                                                  Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 14 of 20 PageID #: 19




   64. Plaintiff re-alleges and incorporates the allegations of paragraphs 1 through 63 of this

      Complaint as though fully set forth herein.

   65. Section 1557 of the ACA, 42 U.S.C. § 18116 provides, in relevant part, that “an

      individual shall not, on the ground prohibited under … title IX of the Education

      Amendments of 1972 (20 U.S.C. § 1681 et seq.)”—which prohibits discrimination on

      the basis of sex”—“be excluded from participation in, be denied the benefits of, or be

      subjected to discrimination under any health program or activity, any part of which is

      receiving Federal financial assistance.”

   66. Discrimination on the basis of sex characteristics, gender, nonconformity with sex

      stereotypes, transgender status, and gender transition are all encompassed by the

      prohibition of discrimination on the basis of sex under Section 1557.

   67. Upon information and belief, Defendant receives federal financial assistance and or has

      contracts with the United States such that it is a “covered entity.”

   68. A covered entity, such as Defendant, cannot provide or administer health care insurance

      coverage which contains a categorical exclusion form coverage for gender confirming

      health care, or otherwise impose limitations or restrictions on coverage for specific

      health services related to gender transition if such limitation or restriction results in

      discrimination against a transgender individual; i.e. because of that individual’s sex.

   69. Because Defendant receives federal funding that flows to academic and research health

      programs or activities operated or supervised by Defendant, Plaintiff has a right under

      Section 1557 to receive health insurance through Defendant free from discrimination on

      the basis of sex, sex characteristics, gender, nonconformity with sex stereotypes,

      transgender status, or gender transition.



                                               13
                                                                                                       Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 15 of 20 PageID #: 20




    70. Defendant has discriminated against Plaintiff on the basis of sex in violation of Section

        1557 and has thereby denied Plaintiff the full and equal participation in, benefits of, and

        right to be free from discrimination in a health program activity.

    71. By categorically excluding all coverage for medically necessary treatment in

        conjunction with gender dysphoria and gender reassignment surgery, Defendant has

        drawn a classification that has unlawfully discriminated against Plaintiff based on her

        sex and her son’s sex as an intended beneficiary of her employee health insurance plan

        in violation of Section 1557.

    72. As a result of the exclusion, Plaintiff has suffered harm, including but not limited to

        financial harm.

    73. By knowingly and intentionally offering health care coverage to Plaintiff that

        discriminated on the basis of sex, Defendant has intentionally violated the ACA, for

        which Plaintiff is entitled to compensatory damages, including but not limited to out-of-

        pocket damages, and consequential damages.

                                     PRAYER FOR RELIEF


       WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

the Defendant on all claims as follows:

       A. Enter a declaratory judgment that Defendants, including through enforcement of its

           health plan’s categorical exclusion of treatment for gender dysphoria and/or gender

           confirming care, violated Plaintiff’s rights under Title VII and the ACA, on the basis of

           Plaintiff’s sex and/or her association with a protected class of persons;




                                                  14
                                                                                                        Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 16 of 20 PageID #: 21




       B. Preliminarily and permanently enjoin Defendant, their agents, employees, successors, and

          all others acting in concert with them from administering or offering health care coverage

          that categorically excludes coverage for gender confirming health care;

       C. Award compensatory and consequential damages, including but not limited to back pay,

          lost benefits, and front pay, in an amount that would fully compensate Plaintiff for her

          financial harm, emotional distress and suffering, embarrassment, humiliation, pain and

          anguish, violations of her dignity, and other damages caused by Defendant’s conduct in

          violation of the laws of the United States;

       D. Award punitive damages for knowingly, intentionally, and willfully discriminating

          against Plaintiff in violation of the laws of the United States;

       E. Award pre- and post-judgment interest;

       F. Award Plaintiff her costs, expenses, and reasonable attorneys’ fees incurred in this action

          pursuant to 42 U.S.C. § 1988 and any other applicable laws;

       G. Award other legal and equitable or injunctive relief as this Court deems just and

          appropriate;

       H. The declaratory relief requested in this action is also sought against Defendant’s

          officers, agents, servants, employees, and attorneys, as well as any other persons who

          are in active concert or participation with them.

                       Demand for Jury Trial and Designation of Place of Trial

       Plaintiff requests a trial by jury, in St. Louis, Missouri, on all counts and allegations of

wrongful conduct alleged in this Complaint.



                                              Respectfully Submitted,

                                              LAW OFFICE OF MADELINE JOHNSON

                                                 15
                                                                                  Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 17 of 20 PageID #: 22




                                    /s/Madeline Johnson________________
                                    Mary Madeline Johnson, Mo. Bar # 57716
                                    220 Main Street, Suite 201
                                    Platte City, Missouri 64079
                                    Telephone: (816) 607-1836
                                    Facsimile: (816) 817-5507
                                    Email: mmjohnsonlaw@gmail.com

                                    ATTORNEY FOR PLAINTIFF




                                      16
                                                                                                                                                      Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
             Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 18 of 20 PageID #: 23
                                                                                                                         2122-CC09346
 EEOC Form 161-B (11/2020)                U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To:     Angelia Scott                                                                    From:       St. Louis District Office
        220 Main St.                                                                                 1222 Spruce Street
        Suite 201                                                                                    Room 8.100
        Platte City, MO 64079                                                                        Saint Louis, MO 63103




                  On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                                Telephone No.

                                                         Walter H. Harris, III,
 560-2020-02295                                          Investigator                                                       (314) 798-1943
                                                                                     (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

        X         More than 180 days have passed since the filing of this charge.

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
        X         The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
                  The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

                  The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                          On behalf of the Commission
                                                     DANA                      Digitally signed by DANA
                                                                               ENGELHARDT
                                                     ENGELHARDT                Date: 2021.06.30 17:38:22 -05'00'   FOR     June 30, 2021
 Enclosures(s)                                                         Lloyd J. Vasquez, Jr.,                                    (Date Issued)
                                                                          District Director

 cc:          Amy L Blaisdell                                                            Madeline Johnson
              GREENSFELDER, HEMKER & GALE, P.C.                                          LAW OFFICE OF MADELINE JOHNSON
              10 S. Broadway, Suite 2000                                                 PO Box 1221
              ST. LOUIS UNIVERSITY HOSPITAL                                              Platte City, MO 64079
              3635 Vista Ave
              Saint Louis, MO 63110
                                                                                                                              Electronically Filed - City of St. Louis - September 23, 2021 - 10:00 AM
        Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 19 of 20 PageID #: 24
Enclosure with EEOC
Form 161-B (11/2020)
                                       INFORMATION RELATED TO FILING SUIT
                                     UNDER THE LAWS ENFORCED BY THE EEOC
                      (This information relates to filing suit in Federal or State court under Federal law.
             If you also plan to sue claiming violations of State law, please be aware that time limits and other
                    provisions of State law may be shorter or more limited than those described below.)


                                  Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS          --
                                  the Genetic Information Nondiscrimination Act (GINA), or the Age
                                  Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of compe tent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "comp laint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters all eged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers fr om the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS          --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --               Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                    --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
           Case: 4:21-cv-01270-AGF Doc. #: 1-1 Filed: 10/22/21 Page: 20 of 20 PageID #: 25
            IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

Judge or Division:                                              Case Number: 2122-CC09346
MICHAEL FRANCIS STELZER
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ANGELIA SCOTT                                                   MARY MADELINE JOHNSON
                                                                4051 BROADWAY
                                                                SUITE 4
                                                          vs.   KANSAS CITY, MO 64111
Defendant/Respondent:                                           Court Address:
ST LOUIS UNIVERSITY HOSPITAL                                    CIVIL COURTS BUILDING
Nature of Suit:                                                 10 N TUCKER BLVD
CC Employmnt Discrmntn 213.111                                  SAINT LOUIS, MO 63101                                        (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: ST LOUIS UNIVERSITY HOSPITAL
                            Alias:
 1201 S. GRAND BOULEVARD
 ST. LOUIS, MO 63104


      COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in    n the petition.

      CITY OF ST LOUIS              September 23, 2021
                                     ________________________                      ______________________________________________________
                                                                                             _______________________________
                                             Date                                                        Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-13213            1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
